 Case 12-80220-jrs       Doc 234-1 Filed 12/02/21 Entered 12/02/21 14:00:48                  Desc
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


IN RE:                                    :
                                          :                   CHAPTER 7
WEINSTOCK & SCAVO, P.C.,                  :
                                          :                   CASE NO. 12-80220-jrs
      Debtor.                             :
                                          :                   JUDGE SACCA
__________________________________________:

       NOTICE OF PLEADINGS, DEADLINE TO OBJECT AND FOR HEARING
        PLEASE TAKE NOTICE that on December 2, 2021, William J. Layng, Jr., as chapter 7
trustee of the above captioned Debtor’s estate filed his Motion to Sell Property of the Estate Free
and Clear of Liens, Claims and Encumbrances and to Pay Real Estate Commissions seeking
approval of the sale of property of the estate known as 2225 Wallace Road, SW, Atlanta, Georgia
30331 (the “Wallace Sale Motion”)[Doc. No. 233].
       Pursuant to General Order No. 24-2018, the Court may consider the Wallace Sale
Motion without further notice or a hearing if no party in interest files a response opposing
the Wallace Sale Motion on or before December 30, 2021. If you oppose the relief requested
in the Wallace Sale Motion, you must timely file your response in opposition to the Wallace
Sale Motion with the Bankruptcy Clerk at Clerk, U.S. Bankruptcy Court, 75 Ted Turner Drive,
SW, Room 1340, Atlanta, Georgia 30303, and serve a copy on the Debtor’s attorney, Theodore N.
Stapleton, P.C., 2802 Paces Ferry Road, NW, Suite 100-B, Atlanta, GA 30339 by the response
deadline. The response must explain your position and be actually received by the Bankruptcy
Clerk within the required time.
       A hearing on the Wallace Sale Motion has been scheduled for January 5, 2022 at 10:30
a.m. in Courtroom 1404, United States Courthouse, 75 Ted Turner Drive, SW, Atlanta,
Georgia 30303. Given the current public health crisis, the Hearing may be telephonic only.
Please check the “Important Information Regarding Court Operations During COVID-19
Outbreak” tab at the top of the GANB website prior to the Hearing for instructions on
whether to appear in person or by phone.
        If a response is timely filed and served, the hearing will proceed as scheduled. If you do
not file a response within the time permitted, the Court may grant the relief requested
without further notice or a hearing provided that an order approving the relief requested is
entered at least one business day prior to the scheduled hearing. If no response is timely filed,
but no order is entered granting the relief requested at least one business day prior to the hearing,
the hearing will be held at the time and place as scheduled.
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       Your rights may be affected. You should read these papers carefully and discuss with
your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you
may wish to consult one.
      NOTICE IS HEREBY GIVEN this 2nd day of December 2021.
                                                   THEODORE N. STAPLETON, P.C.

                                                   By: /s/ Theodore N. Stapleton
                                                   Theodore N. Stapleton
                                                   Georgia Bar No. 675850
                                                   Attorneys for Trustee


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